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EXHIBIT A
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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

xX
Chapter 11
In re
Case No. 09-10138 (KG)
Nortel Networks Inc., et al.,!
Joint Administration Pending
Debtors.
, RE: DLL
x

ORDER UNDER 11 U.S.C. § 102(1) SHORTENING NOTICE RELATING TO
DEBTORS’ MOTION TO APPLY THE PREVIOUSLY-ENTERED BIDDING
PROCEDURES ORDER AND SALE MOTION, AS SUPPLEMENTED, TO
NORTEL NETWORKS (CALA) INC. PROSPECTIVELY

Upon the motion dated, July 17, 2009 (the “Motion”),” of Nortel Networks (CALA) Inc.,
Nortel Networks Inc. and their affiliated debtors, as debtors and debtors in possession in the
above-captioned cases (the “Debtors”), moving for entry of an order, as more fully described in
the Motion, pursuant to section 102(1) of the Bankruptcy Code, Bankruptcy Rule 9006 and Local
Rule 9006-1(e), shortening the notice period related to the Debtors’ Motion (i) to permit
consideration on shortened notice of Debtors’ Motion (the “CALA Motion”) to apply the
Debtors’ Motion for Orders (1)(A) Authorizing Debtors’ Entry into the Asset Sale Agreement,
(B) Authorizing and Approving the Bidding Procedures, (C) Authorizing and Approving a

Break-Up Fee and Expense Reimbursement, (D) Approving the Notice Procedures, (F)

} The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s tax identification

number, are: Nortel Networks Inc. (6332), Nortel Networks Capital Corporation (9620), Nortel Altsystems Inc.
(9769), Nortel Altsystems International Inc. (5596), Xros, Inc. (4181), Sonoma Systems (2073), Qtera Corporation
(0251), CoreTek, Inc, (5722), Nortel Networks Applications Management Solutions Inc. (2846), Nortel Networks
Optical Components Inc. (3545), Nortel Networks HPOCS Inc. (3546), Architel Systems (U.S.) Corporation (3826),
Nortel Networks International Inc. (0358), Northern Telecom International Inc. (6286), Nortel Networks Cable
Solutions Inc. (0567) and Nortel Networks (CALA) Inc. (4226), Addresses for the Debtors can be found in the
Debtors’ petitions, which are available at http://chapterl 1 epiqsystems.com/nortel.

2 Capitalized terms used but not defined herein shall have the meaning ascribed to them in the Motion.
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Authorizing the Filing of Certain Documents Under Seal and (G) Setting a Date for the Sale
Hearing, and (II) Authorizing and Approving (A) the Sale of Certain Assets of Debtors’ CDMA
and LTE Business Free and Clear of All Liens, Claims and Encumbrances, (B) the Assumption
and Assignment if Certain Contracts and (C) the Assumption and Sublease of Certain Leases (the
“Sale Motion”) [D.1. 931] and the Order Pursuant to Bankruptcy Code Sections 105, 363 and
365(A) Authorizing Debtors’ Entry into the Asset Sale Agreement, (B) Authorizing and
Approving the Bidding Procedures, (C) Authorizing and Approving a Break-Up Fee and
Expense Reimbursement, (D) Approving the Notice Procedures, (E) Authorizing the Filing of
Certain Documents Under Seal and (G) Setting a Date for the Sale Hearing (the “Bidding

Procedures Order”) [D.I. 1012] previously entered in the main proceeding with respect to the

Debtors, to NN CALA as modified herein; and granting such other and further relief as the Court
deems just and proper; and adequate notice of the Motion having been given as set forth in the
Motion; and it appearing that no other or further notice is necessary; and the Court having
determined that the legal and factual bases set forth in the Motion establish just cause for the
relief requested in the Motion, and that such relief is in the best interests of the Debtors, their
estates, their creditors and the parties in interest; the Court having determined that “cause” exists
to shorten the notice period related to this motion; and after due deliberation and sufficient cause
appearing therefore;

IT IS HEREBY ORDERED THAT:

1, The Motion is GRANTED.

2. The CALA Motion will be considered at the hearing scheduled for July 20, 2009

at 2:00 p.m. (ET).
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3, Objections, if any, to the CALA Motion shall be filed and served in accordance
with the Local Rules of this Court by no later than July 20, 2009 at 2:00 p.m. (ET).

4. The Court retains jurisdiction with respect to all matters arising from or related to

the implementation of this Order,

Dated: , 2009
Wilmington, Delaware

THE HONORABLE KEVIN GROSS
UNITED STATES BANKRUPTCY JUDGE
